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2    District of Nevada
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7                 UNITED STATES DISTRICT COURT
8                      DISTRICT OF NEVADA
                                            -oOo-
9
     UNITED STATES OF AMERICA,                )
                                              )   Case No.: 2:17-cr-00180-JAD-PAL
10                                            )
                    Plaintiff,                )   STIPULATION TO CONTINUE
11                                            )   GOVERNMENT’S RESPONSE TO
           vs.                                )   DEFENDANT’S MOTION TO
12                                            )   SUPPRESS (ECF No. 203) – Third
     EVERLY JAMES,                            )   Request
                                              )
13                                            )
                    Defendant.                )
14

15
                 IT IS HEREBY STIPULATED AND AGREED, by and between Steven W.
16
     Myhre, Acting United States Attorney; and Cristina D. Silva, Assistant United
17
     States Attorneys, counsel for the United States of America, and Christopher Oram,
18
     Esq., counsel for defendant EVERLY JAMES, for the reasons set forth herein, that
19
     the Government’s response to defendant’s motion to suppress (ECF No. 203),
20
     currently due on December 21, 2017, be continued for two (2) weeks for the following
21
     reasons:
22
                 1. Counsel for the Government provided the Defendant with additional
23
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 1   evidence that extends the currently charged conspiracy. Counsel for the Defendant

 2   needs additional time to review the discovery and discuss it with his client.

 3               2. Defendant’s counsel recently completed a lengthy homicide trial in the

 4   State of Nevada. As a result, the counsel for the Defendant needs additional time to
 5   discuss the new discovery with his client because it may impact resolving the case.
 6
     Also, because of the same trial, the counsel for both parties were only recently able
 7
     to meet and discuss the new discovery, as well as engage in plea negotiations.
 8
                 3. The defendant is in custody and but does not object to a brief
 9
     continuance.
10
                 4. Additionally, denial of this request for continuance could result in a
11
     miscarriage of justice because it will prevent the Defendant from receiving and
12
     reviewing additional information with his counsel, and it could also deny the parties
13
     an opportunity to engage in more fulsome plea negotiations.
14
                 5. This is the third request for continue the response to the motion to
15
     suppress.
16
                 DATED this 20th day of December, 2017.
17
                                                    STEVEN W. MYHRE
18
                                                    Acting United States Attorney
19
                                                          /s/
20                                                  CRISTINA D. SILVA
                                                    FRANK J. COUMOU
21                                                  Assistant United States Attorneys

22                                                       /s/
                                                    CHRISTOPHER ORAM, ESQ.
23                                                  Counsel for Defendant James

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1                   UNITED STATES DISTRICT COURT
2                        DISTRICT OF NEVADA
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3
     UNITED STATES OF AMERICA,                 )
                                               ) Case No.: 2:17-cr-00180-JAD-PAL
4                                              )
                    Plaintiff,                 ) ORDER
5                                              )
           vs.                                 )
6                                              )
     EVERLY JAMES,                             )
                                               )
7                                              )
                    Defendant.                 )
8

9                                       FINDINGS OF FACT

10         Based on the pending Stipulation of counsel, and good cause appearing

11   therefore, the Court finds that:

12               1. Counsel for the Government provided the Defendant with additional

13   evidence that extends the currently charged conspiracy. Counsel for the Defendant

14   needs additional time to review the discovery and discuss it with his client.

15               2. Defendant’s counsel recently completed a lengthy homicide trial in the

16   State of Nevada. As a result, the counsel for the Defendant needs additional time to

17   discuss the new discovery with his client because it may impact resolving the case.

18   Also, because of the same trial, the counsel for both parties were only recently able

19   to meet and discuss the new discovery, as well as engage in plea negotiations.

20               3. The defendant is in custody and but does not object to a brief

21   continuance.

22               4. Additionally, denial of this request for continuance could result in a

23   miscarriage of justice because it will prevent the Defendant from receiving and


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 1   reviewing additional information with his counsel, and it could also deny the parties

 2   an opportunity to engage in more fulsome plea negotiations.

 3               5. This is the third request for continue the response to the motion to

 4   suppress.
 5               For all of the above-stated reasons, the end of justice would best be served
 6
     by a two-week continuation of the deadline for the Government to file its response to
 7
     the Defendant’s Motion to Suppress (ECF No. 203).
 8
                                             ORDER
 9
           IT IS ORDERED that the Government’s deadline to respond to the
10
     Defendant’s motion to suppress, currently scheduled for December, 2017, be vacated
11
     and continued to _________________________,
                                    January 8    2018.
12
           DATED this 4th day of January, 2018.
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                                               _______________________________________
15                                             THE HONORABLE PEGGY A. LEEN
                                               United States Magistrate Judge
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